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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
BALTIMORE (NORTHERN) DIVISION

ANTHONY BROWN, and
BONITA BROWN, Individually and on
behalf of a Class of Persons similarly situated,

Plaintiffs,

v.
CIVIL NO. JKB-l l~CV-667

ALLIED HOME MORTGAGE CAPITAL
CORPORATION,

Defendant.

 

DEFENDANT ALLIED HOME MORTGAGE CAPITAL CORPORATION’S
STATEMENT IN RESPONSE TO STANDING ORDER CONCERNING REMOVAL

On March l4, 2011, the United States District boun for the District of Maryland issued a
Standing Order Concerning Removal in the above-noted case. In accordance With the provisions of that
Order, Defendant Allied Home Mortgage Capital Corporation (“Allied” or “Defendant”), by and
through the undersigned counsel, provides this Statement in Response to Standing Order Concerning
Removal, and states as follows:

l. The Writ of Summons and Complaint Were served upon Defendant on February 9, 2011.

2. Defendant’s removal of the above-noted case to this Court is predicated upon diversity
jurisdiction Defendant is not a citizen of Maryland. Defendant is a corporation organized under the
laws of the state of Texas and maintains its headquarters and principal place of business in Texas.
Accordingly, Defendant is a citizen of Texas for purposes of diversity jurisdiction

3. Defendant has timely removed the above-noted case Within 30 days of service, pursuant

to 28 U.S.C. § 1446(b).

 

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4. Plaintiffs Anthony and Bonita Brown filed their Complaint in the above-noted case in the
Circuit Court for Baltimore County on February l, 2011. Defendant removed the above-noted case to
this Court on March 9, 2011. Therefore, the present action Was commenced less than one year before

the date of removal.

5. No defendant Was served in the state court action prior to the time of removal Who did

not formally join in the notice of removal.

Dated: March 25, 2011 Res fully submi

 

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Attorneysfor Defena'am‘
Allied Home Mortgage Capital Corporation

 

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CERTIFICATE OF SERVICE
1 HEREBY CERTIFY that on this 25th day of March, 2011, I flled the Defendant Allied Home
Mortgage Capital Corporation’s Statement in Response to Standing Order Concerning Removal With the
Clerk of the U.S. Court for the District of Maryland by CM/ECF electronic filing system, which

automatically provides a copy to:

Richard S. Gordon, Esquire
Benjamin H. Carney, Esquire

Quinn, Gordon & Wolf, Chtd.

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